  Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 1 of 30 PageID #:8413



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

NATHSON E. FIELDS,                       )
                                         )
                   Plaintiff,            )
                                         )   Case No. 10 C 1168
            v.                           )
                                         )   Judge Matthew F. Kennelly
CITY OF CHICAGO, et al.,                 )
                                         )   Magistrate Judge Geraldine Soat Brown
                   Defendants.
                                         )

           CITY DEFENDANTS’ JOINT REPLY IN SUPPORT OF THEIR
                   MOTION FOR SUMMARY JUDGMENT




Terrence M. Burns
Paul A. Michalik
Daniel M. Noland
Dykema Gossett PLLC
10 S. Wacker Drive
Suite 2300
Chicago, IL 60606
(312) 876-1700
     Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 2 of 30 PageID #:8414



                                           TABLE OF CONTENTS

                                                                                                                          Page

I.       PLAINTIFF’S DUE PROCESS CLAIM FAILS AS A MATTER OF LAW ............. 1

         A.    Plaintiff Fails to Address the City Defendants’ Primary Argument That He
               Cannot Meet the Materiality Element of Brady Due to the Bribe .......................... 1

               Kyles v. Whitley,
                  514 U.S. 419 (1995)...........................................................................................1

               People v. Hawkins,
                  690 N.E.2d 999 (1998).......................................................................................1

         B.    Plaintiff’s Other Arguments Misstate the Law, Misstate the City Defendants’
               Position, and/or Are Irrelevant................................................................................ 2

               Newsome v. McCabe,
                  256 F.3d 747 (7th Cir. 2001) .............................................................................2

               People v. Hawkins,
                  690 N.E.2d 999 (1998).......................................................................................3

         C.    Plaintiff Also Fails to Directly Address the City Defendants’ Materiality
               Argument with Respect to the 2009 Trial............................................................... 4

               Carvajal v. Dominguez,
                  542 F.3d 561 (7th Cir. 2008) .........................................................................4, 5

               Bielanski v. County of Kane,
                   550 F.3d 632 (7th Cir. 2008) .........................................................................4, 5

               Mosley v. City of Chicago,
                 614 F.3d 391 (7th Cir. 2010) .........................................................................4, 5

               Whitlock v. Brueggemann,
                  682 F.3d 567 (7th Cir. 2012) .............................................................................4

               Stickler v. Greene,
                   527 U.S. 263 (1999)...........................................................................................5




                                                             i
  Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 3 of 30 PageID #:8415



II.    THERE IS NO EVIDENCE OF A PRACTICE, WIDESPREAD OR
       OTHERWISE, TO WITHHOLD BRADY MATERIAL IN STREET FILES........... 6

       Connick v. Thompson,
          131 S.Ct. 1350 (2011)....................................................................................................6

       Jenkins v. Bartlett,
          487 F.3d 482 (7th Cir. 2007) .........................................................................................6

       Grieveson v. Anderson,
          538 F.3d 763 (7th Cir. 2008) .........................................................................................6

       City of Canton v. Harris,
           489 U.S. 378 (1989).......................................................................................................7

       Frake v. City of Chicago,
          210 F.3d 779 (7th Cir. 2000) .........................................................................................7

       Edwards v. Gilbert,
          867 F.2d 1271 (11th Cir. 1989) .....................................................................................7

III.   ALTERNATIVELY, THE INDIVIDUAL DEFENDANTS ARE ENTITLED
       TO SUMMARY JUDGMENT ON ALL OF PLAINTIFF’S CLAIMS....................... 9

       A.        Failure to Intervene ................................................................................................. 9

       B.        State Law Claims .................................................................................................... 9

                 Bowen v. Sullivan,
                    2012 WL 2116121 (N.D. Ill. 2012) .................................................................10

                 David v. Village of Oak Lawn,
                    954 F. Supp. 1241 (N.D. Ill. 1996) ..................................................................10

                 Slagel v. Shell Oil Refinery,
                    811 F. Supp. 378 (C.D. Ill. 1993), aff’d 23 F.3d 410 (1994)...........................10

                 Bordelon v. Chicago School Reform Board of Trustees,
                    233 F.3d 524 (7th Cir. 2000) ...............................................................11, 12, 13

                 United States v. Roberts,
                    534 F.3d 560 (7th Cir. 2008) ...........................................................................11

                 Bonte v. U.S. Bank,
                    624 F.3d 461 (7th Cir. 2010) .....................................................................11, 14

                 330 W. Hubbard Restaurant Corp. v. United States,
                    203 F.3d 990 (7th Cir. 2000) ...........................................................................11


                                                                 ii
     Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 4 of 30 PageID #:8416



                   Daniels v. Southfort,
                      6 F.3d 482 (7th Cir. 1993) ...............................................................................16

                   McCoy v. Harrison,
                     341 F.3d 600 (7th Cir. 2003) ...........................................................................17

                   Alexander v. City of South Bend,
                      433 F.3d 550 (7th Cir. 2006) ...........................................................................18

                   Alexander v. City of South Bend,
                      320 F. Supp. 2d 761 (N.D. Ind. 2004) aff'd, 433 F.3d 550 (7th Cir.
                      2006) ................................................................................................................18

                   Samuels v. Wilder,
                      871 F.2d 1346 (7th Cir. 1989) .........................................................................18

         C.        Probable Cause...................................................................................................... 21

                   Swearnigen-El v. Cook County Sheriff’s Dept.,
                      602 F.3d 852 (7th Cir. 2010) ...........................................................................22

         D.        Conspiracy ............................................................................................................ 22

                   Reynolds v. Jamison,
                      488 F.3d 756 (7th Cir. 2007) ...........................................................................22

IV.      THERE IS NO BASIS FOR EXCLUDING THE TESTIMONY OF EARL
         HAWKINS, DERRICK KEES, OR TRAMELL DAVIS............................................ 23

         18 U.S.C. § 201(c)(2)...................................................................................................24, 25

         U.S. v. Condon,
            170 F.3d 687 (7th Cir. 1999) .................................................................................24, 25

         U.S. v. Febus,
            218 F.3d 784 (7th Cir. 2000) .......................................................................................24

         U.S. v. Ihnatenko,
            482 F.3d 1097 (9th Cir. 2007) .....................................................................................24

V.       CONCLUSION ............................................................................................................... 25




                                                                   iii
     Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 5 of 30 PageID #:8417



I.       PLAINTIFF’S DUE PROCESS CLAIM FAILS AS A MATTER OF LAW1

         A.      Plaintiff Fails to Address the City Defendants’ Primary Argument That He
                 Cannot Meet the Materiality Element of Brady Due to the Bribe

         Plaintiff’s Response fails to address the City Defendants’ principal Brady argument that

he cannot prove the crucial issue of materiality because the El Rukns, William Swano, and Judge

Maloney corrupted the 1986 trial.2 The facts and the law are not disputed on this element.

Plaintiff admits (Pl. M/Partial S.J., at 8) he must prove there is a reasonable probability the

outcome of the 1986 Maloney trial would have been different absent the bribe. Kyles v. Whitley,

514 U.S. 419, 433-34 (1995) (“Favorable evidence is material, and constitutional error results

from its suppression by the government, if there is a ‘reasonable probability’ that, had the

evidence been disclosed to the defense, the result of the proceeding would have been different”).

Plaintiff also agrees with the Illinois Supreme Court’s finding that it is “impossible” to determine

whether the verdict would have been the same “if rendered by an uncorrupted judge.” People v.

Hawkins, 690 N.E.2d 999, 1007 (1998).               In fact, plaintiff admits “there is no way to know

whether a non-corrupt judge would have convicted Fields … on the basis of the evidence offered

at the first trial.” (Pl. Resp. at 6) (emphasis added). This is the precise point of Defendants’

motion. The City Defendants are entitled to summary judgment because all parties agree that

due to a corrupt judge, it is impossible for plaintiff to meet the element of materiality (i.e., that a

reasonable probability exists the outcome of the 1986 trial would have been different).

1
  This Reply Brief will designate the relevant summary judgment pleadings as follows: Third Amended Complaint,
Dkt. #105, as TAC; The City Defendants’ Joint Memorandum of Law in Support of Summary Judgment, Dkt. #443,
as City Joint Memo; Plaintiff’s Response to the City Defendants’ Motion for Summary Judgment, Dkt. #464, as Pl.
Response; Plaintiff’s Memorandum in Support of His Motion for Partial Summary Judgment, Dkt. #435, as Pl.
M/Partial S.J.; City Defendants’ Response in Opposition to Plaintiff’s Motion for Partial Summary Judgment, Dkt.
#461, as City Resp. to Partial S.J.; City Defendants’ Rule 56.1 Statement of Facts. Dkt. #438, as DSOF; Plaintiff’s
Rule 56.1 Statement of Facts, Dkt. #437, as PSOF; City Defendants’ Statement of Additional Facts, Dkt #458, as
DAF; and, Plaintiff’s Statement of Additional Facts, Dkt. # 465, as PAF.
2
 Plaintiff also failed to address materiality in his own motion for partial summary judgment. (See City Resp. to
Partial S.J., at 8).

                                                        1
    Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 6 of 30 PageID #:8418



        B.      Plaintiff’s Other Arguments Misstate the Law, Misstate the City Defendants’
                Position, and/or Are Irrelevant

        Plaintiff’s Response raises several points that are wrong, misleading, and, ultimately,

irrelevant.3   Plaintiff first argues “the duty to disclose Brady material is unconditional.”

Plaintiff’s argument presupposes he has met all the elements of Brady without discussing the

elements themselves or showing how they have been satisfied. Absent proof the allegedly

withheld evidence is exculpatory and material, it is not “Brady material.”                As the City

Defendants have demonstrated, the elements of Brady are not met in this case.

        Plaintiff ultimately concludes “even if this Court were to determine that the material in

the street file was not Brady material, the defendants’ failure to turn over the file pursuant to the

subpoenas issued by Fields’ attorneys also constitutes a violation of Fields’s due process rights.”

(Pl. Response, at 4). The absence of legal authority to support this assertion is not surprising as

it is an inaccurate statement of the law. The statement ignores Brady itself and the entire body of

case law that has developed under Brady, which requires a plaintiff to prove the information in

question is exculpatory and material. See e.g., Newsome v. McCabe, 256 F.3d 747 (7th Cir.

2001). Failure to comply with a subpoena might subject one to the contempt rules of the court,

but it would not necessarily constitute a due process violation.

        Plaintiff argues the concept of “intervening, superseding cause” is ordinarily raised in

negligence rather than intentional tort cases, and that it was foreseeable for a Brady violation to

cause a wrongful conviction. (Resp. at 4-5).        While plaintiff is correct about the origin of the

intervening/superseding cause doctrine, plaintiff misses Defendants’ point. The bribe, something

Defendants had nothing to do with, renders it impossible for plaintiff to meet the materiality

3
  To the extent plaintiff incorporates arguments made at pages 8-15 of his motion for partial summary
judgment (Pl. Response, at 3), the City Defendants rely on and incorporate pages 4-8 of their response to
that motion. (Dkt. #461).

                                                   2
    Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 7 of 30 PageID #:8419



element of a Brady claim.          In other words, the circumstances surrounding the bribe (the

intervening event) had such a dispositive influence on the outcome of the trial that it severed any

possible causal connection between the alleged suppression of evidence and the trial result.

Because this trial was irreparably corrupted, no one can say the outcome of the trial would have

been different if the Subject File had been available.4

        Realizing the merit of the City Defendants’ motion, plaintiff changes his long-standing

position and submits a new, somewhat inconsistent argument regarding the impact of the bribe

on his 1986 trial result. Plaintiff previously had maintained Maloney’s self-interest prompted

him to convict Fields and Hawkins to prove to federal authorities that no wrongdoing occurred

on his part, thus depriving Fields of due process. (People v. Hawkins, 690 N.E.2d at 1001-02).

Fields argued and acknowledged his 1986 conviction was a foregone conclusion after Judge

Maloney returned the bribe. Plaintiff now attempts to argue it was the strength of the State’s

case, rather than a fear of prosecution, that caused Maloney to return the bribe money. (Pl.

Response, at 5). This argument disregards the findings of People v. Hawkins concerning when

the money was given back and why.5 (690 N.E.2d at 1001). More importantly, the Illinois

Supreme Court found Maloney returned the bribe money because “he wanted to insure that he

did not lose his judicial post and salary as a result of a criminal indictment, and therefore was

motivated to return to a verdict that would not spark the suspicions of authorities.” Hawkins, 690

N.E.2d at 1004. Plaintiff’s new argument contradicts the Illinois Supreme Court, as well as both


4
  Plaintiff’s assertion that the United States Attorney’s Office alerted the State’s Attorney’s Office to the
bribe during the trial serves only to refute the allegation in the TAC that the City Defendants withheld that
information from prosecutors.
5
  Plaintiff incorrectly suggests Robert McGee referenced the strength of the State’s case when he returned
the bribe money. (Pl. Response, at 5). McGee did not make this statement when the money was returned
on June 26, 1986; he said it on June 19, 1986 (two days after the bribe was passed) and before the defense
put on their case. In fact, Maloney kept the money at that point, and returned it the following week due to
his fear of prosecution. (Hawkins, 690 N.E.2d at 1001).

                                                     3
  Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 8 of 30 PageID #:8420



his previous arguments in post-conviction proceedings and his later-asserted positions in this

case concerning the weaknesses and credibility problems of the State’s witnesses. (See, e.g., Pl.

Response, at 31-32).

       C.      Plaintiff Also Fails to Directly Address the City Defendants’ Materiality
               Argument with Respect to the 2009 Trial

       There can be no Brady claim following an acquittal, but even if there could be, plaintiff

has not demonstrated how the facts of this case would support such a heretofore non-existent

claim. Carvajal v. Dominguez, 542 F.3d 561, 570 (7th Cir. 2008); see also Bielanski v. County of

Kane, 550 F.3d 632, 644-45 (7th Cir. 2008); Mosley v. City of Chicago, 614 F.3d 391, 397 (7th

Cir. 2010). Plaintiff does not meaningfully distinguish these cases and instead relies on Whitlock

v. Brueggemann, 682 F.3d 567 (7th Cir. 2012). Plaintiff’s reliance on Whitlock is misplaced.

Whitlock would be analogous only if the City Defendants were arguing plaintiff’s 2009 acquittal

precluded any and all Brady claims going back to 1986. As the City Defendants do not make

such an argument, Whitlock provides no guidance here.

       In Whitlock, the plaintiffs were convicted in 1987, and those convictions were overturned

years later in habeas and appellate proceedings.         The defendants in Whitlock argued the

subsequent reversals of the convictions precluded Brady claims related to the 1987 trials because

the plaintiffs ultimately prevailed. Although the Seventh Circuit had stated “a trial that results in

an acquittal can never lead to a claim for a Brady violation because the trial produced a fair

result, even without the exculpatory evidence,” the Whitlock court held the statement did not

apply because the plaintiffs were convicted at trial and the later reversal of their convictions

“does not mean that they are ‘prevailing criminal defendants’ in the sense that Mosley used the

term.” Id. at 588, quoting Mosley, 614 F.3d at 397. Here, the City Defendants’ contention that

plaintiff cannot assert a Brady claim due to his 2009 acquittal is made only with respect to the


                                                 4
  Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 9 of 30 PageID #:8421



2009 trial. Plaintiff prevailed in 2009 and the Mosley, Carvajal, and Bielanski analysis applies

with respect to that trial. The City Defendants have not argued the 2009 acquittal bars a Brady

claim with respect to the 1986 trial. Plaintiff’s Brady claim concerning the 1986 trial fails for

other, independent reasons. (City Joint Memo, at 6-8).

        Assuming, arguendo, a Brady claim could exist after an acquittal, plaintiff has offered no

meaningful argument or evidence to support such a claim. Plaintiff characterizes ASA Sexton’s

affidavit as self–serving and biased, but offers no argument or facts to refute the affidavit. The

reliability of ASA Sexton’s affidavit is corroborated by the State’s active opposition to plaintiff’s

petition for certificate of innocence, which continued after prosecutors received and reviewed the

Subject File. (DSOF, ¶¶ 166-67). Plaintiff presents no evidence to show any of the material in

the Subject File, if disclosed earlier, would have altered the State’s decision to prosecute.

Indeed, plaintiff does not even attempt to argue the State would have dropped the case against

him if it had the Subject File earlier.

        Plaintiff goes on to argue the Supreme Court’s holding in Stickler v. Greene, 527 U.S.

263, 289-90 (1999) “requires a prospective analysis, i.e. whether at the time the evidence is

concealed it could be expected to affect the outcome of trial; not the retrospective analysis

suggested by the defendants.” (Pl. Response, at 10). Plaintiff’s “prospective analysis” argument

was expressly rejected by the Seventh Circuit in Carvajal. 542 F.3d at 570. Specifically,

Carvajal held the “prospective test does not seem to accurately capture what Brady protects and

misunderstands the materiality requirement in a true Brady violation.” Id. In fact, the Seventh

Circuit relied on the Supreme Court’s holding in Stickler in rejecting the prospective analysis

approach. Id. Carvajal concluded “a true constitutional violation is measured with the outcome

in mind.” Id; see also Bielanski, 550 F.3d at 644.



                                                 5
  Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 10 of 30 PageID #:8422



       Plaintiff also argues Brady is a continuing duty. While there currently is a debate

whether Brady is a continuing duty, that debate need not be resolved in this case because of the

corrupted 1986 trial and the 2009 acquittal. Continuing duty or not, the defendants are entitled to

summary judgment because plaintiff was acquitted in 2009 and there is no evidence the State

would have dismissed the charges sooner if the Subject File or the other alleged Brady material

was known earlier by the State.

II.    THERE IS NO EVIDENCE OF A PRACTICE, WIDESPREAD OR OTHERWISE,
       TO WITHHOLD BRADY MATERIAL IN STREET FILES

       In moving for summary judgment, the City noted plaintiff’s failure to identify any other

case from February 3, 1983 (when Special Order 83-1 went into effect) where Brady material

was allegedly withheld by the CPD (in a street file or otherwise). (City Joint Memo, at 34).

Rather than demonstrate a practice of illegal conduct through other incidents, as the law requires,

plaintiff simply claims a widespread practice exists “as evidenced by Fields’ case.”           (Pl.

Response, at 14). Plaintiff does not attempt to distinguish the legal authority cited by the City

that a widespread practice requires more than one incident. (City Joint Memo, at 34). As the

City explained, the law is clear that proof of a pattern of misconduct requires multiple prior

incidents before it can be actionable under Monell; a single incident is insufficient. Connick v.

Thompson, 131 S.Ct. 1350 (2011); Jenkins v. Bartlett, 487 F.3d 482, 492-93 (7th Cir. 2007);

Grieveson v. Anderson, 538 F.3d 763, 773 (7th Cir. 2008). Plaintiff’s failure to submit evidence

in any case but his where it was claimed the CPD withheld alleged Brady material after the

implementation of Special Order 83-1 is fatal to his “street files” Monell claim.

       Plaintiff suggests Special Order 83-1 “should be deemed a sham” and is “illusory”

because it “had no mechanism for monitoring compliance.” (Pl. Response, at 13). In a flaw that

is common throughout his Response, plaintiff offers no legal or factual support to establish the


                                                 6
    Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 11 of 30 PageID #:8423



requirement for such an audit mechanism. Moreover, there is no evidence of any practice of

violating Special Order 83-1 that would have placed the CPD on notice an audit was necessary or

appropriate. Jim Hickey testified he personally trained over 1,000 detectives on Special Order

83-1, and the detectives in this case testified they were aware of and followed the policy

requiring that all materials be submitted for placement in the investigatory file.6 (See City

Defendants’ Resp. to PSOF, Dkt. # 457, ¶¶ 27-30, 32-33).

        Plaintiff’s unsupported “sham” argument also runs afoul of the Supreme Court’s

prohibition against "more or better" Monell claims. See City of Canton v. Harris, 489 U.S. 378,

391 (1989); Frake v. City of Chicago, 210 F.3d 779, 782 (7th Cir. 2000) (“The existence or

possibility of other better policies which might have been used does not necessarily mean that

the defendant was being deliberately indifferent”); Edwards v. Gilbert, 867 F.2d 1271, 1276 (11th

Cir. 1989) (no liability for suicide although a better, more up-to-date screening procedure might

have identified victim as a risk requiring special procedures). The suggestion Special Order 83-

1should have had an audit mechanism is, at best, a “more or better” claim prohibited by the

Supreme Court.

        Plaintiff badly mischaracterizes the time-line of the Palmer litigation in claiming CPD

detectives were keeping street files “right at the time Fields was seeking the street file in the

Hickman/Smith murders.” (Pl. Response, at 13). The City explained the Palmer litigation in its

response to plaintiff’s motion for partial summary judgment, and need not repeat that explanation

here. (See City Resp. to M/Partial S.J., at 18-19). The City simply reiterates Special Order 83-1

6
  The mere fact there is no inventory sheet or control card in the Subject File does not support a
widespread practice claim. In fact, there was an inventory sheet and investigative file control card in the
Area File located at the warehouse, which contained the 8 pages of GPRs plaintiff admits receiving
during his criminal case, demonstrating compliance with Special Order 83-1. (Defendants’ Exhibit 69,
CITY-NF-07560-62). While one case still does not establish a widespread practice under the law, the fact
there was an inventory sheet and control card with the file that had been produced (as well as use of the
GPR forms) contradicts plaintiff’s unsupported assertion Special Order 83-1 was not put into practice.

                                                    7
 Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 12 of 30 PageID #:8424



went into effect February 3, 1983, two years before plaintiff was arrested and three years before

he was prosecuted. Plaintiff appears to imply that because the reported decisions in Palmer and

Jones are dated between 1985 and 1988, the “street files” practice was ongoing at that time.

Plaintiff’s argument borders on the frivolous. Notwithstanding the dates those decisions were

reported, the alleged conduct discussed in those cases took place prior to the implementation of

Special Order 83-1.

       Plaintiff also argues Judge Duff’s opinion dismissing his 1988 lawsuit contains an

admission by the City that if the Subject File was withheld, plaintiff would be entitled to

monetary damages. This argument fails for multiple reasons. The “admission” apparently was

part of a Rule 12(b)(6) motion to dismiss, which necessarily accepts as true a plaintiff’s

allegations for purposes of the motion. Plaintiff also fails to identify exactly what the defendants

said, relying instead on Judge Duff’s summary. Moreover, plaintiff significantly overreaches in

suggesting something from a Rule 12(b)(6) motion should mean the City automatically agreed to

civil liability for a future due process claim, irrespective of whether the failure to produce the file

was intentional, whether the individual defendants were responsible for or in any way involved

in providing files to the SAO, whether the failure to produce the file was the result of a City

policy, whether the file contained exculpatory evidence, or whether the information in the file

was material.

       Plaintiff has failed to identify any other case where Brady material was allegedly

withheld since Special Order 83-1. Plaintiff cannot meet the widespread practice requirement

because there is only one alleged constitutional violation. Nor can he meet the deliberate

indifference requirement as there is no evidence (or even any allegation) that the City’s final

policymaker could have been on notice that Special Order 83-1, the express policy, was not



                                                  8
    Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 13 of 30 PageID #:8425



being complied with. Accordingly, the City is entitled to summary judgment on plaintiff’s

“street files” Monell claim.7

III.    ALTERNATIVELY, THE INDIVIDUAL DEFENDANTS ARE ENTITLED TO
        SUMMARY JUDGMENT ON ALL OF PLAINTIFF’S CLAIMS

        A.      Failure to Intervene

        Plaintiff’s Response does not address the absence of evidence of any individual

defendant’s personal involvement in the alleged withholding of the Subject File.                 Indeed,

plaintiff elsewhere has conceded he cannot point to any individual who improperly withheld the

Subject File. (Pl. M/Partial S.J., at 16). With respect to Brady, plaintiff’s remaining position

appears to be based on a type of failure to intervene by the individuals City Defendants (i.e., they

“looked the other way”). (See Pl. Response, at 11-12, 16; Pl. M/Partial S.J., at 16-17). But as

noted in the City Defendants joint motion for summary judgment, there is no evidence

establishing any individual defendant officer suppressed or destroyed Brady material, so there

can be no claim that a defendant officer failed to prevent that conduct. (City Joint Memo, at 30,

citing Harper v. Albert, 400 F.3d 1052, 1064 (7th Cir. 2005)). And even if plaintiff could

somehow establish evidence of wrongful suppression of exculpatory information by another

officer, there is no evidence any City Defendant knew that officer was about to engage in

suppression, had a realistic opportunity to intervene, and then failed to do so. (Id.)8 Plaintiff’s

failure to intervene theory lacks evidentiary support and should not survive summary judgment.

        B.      State Law Claims

7
  Plaintiff failed to respond to the City’s argument that it is entitled to summary judgment on the Monell
claim based on an alleged practice of maliciously prosecuting gang members, including El Rukns,
regardless of their guilt or innocence. (City Joint Memo, at 35). The City is therefore entitled to
summary judgment on all Monell allegations in plaintiff’s TAC.
8
  To the extent plaintiff’s Response (at 12) purports to rely on his motion for partial summary judgment
on this issue, in the interest of economy and to avoid unnecessary repetition, the City Defendants rely
upon and incorporate herein their response in opposition to plaintiff’s motion for partial summary
judgment. (Dkt. #461, at 13-18).

                                                    9
 Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 14 of 30 PageID #:8426



       Plaintiff’s Response consolidates its superficial discussion of the individual defendants’

liability for “other” alleged due process violations with the section pertaining to the malicious

prosecution and conspiracy counts. As to Defendants Evans, Hood, Minogue, Bogdalek, Casto,

and Richardson, plaintiff argues they are guilty of malicious prosecution and conspiracy

“because they shut their mouths and looked the other way when documents from the initial

investigation were hidden from Fields.” (Pl. Response, at 16). Plaintiff lumps these defendants

together and urges they deprived him of Brady materials at the 1986 trial or alternatively, failed

to investigate in 1988 when Fields filed a civil lawsuit against them. (Id., at 17). But as set forth

in the City Defendants’ Joint Motion for Summary Judgment, plaintiff has failed to support these

allegations with evidence showing any of these six defendants deprived him of Brady material in

1986. Plaintiff’s Response does not remedy this deficiency. Further, plaintiff’s 1988 lawsuit,

and the Complaint Register arising therefrom, did not impose a duty on the officers to investigate

further or ensure their work product actually had been produced to the State. (See City Resp. to

M/Partial S.J., at 17-18). See also Bowen v. Sullivan, 2012 WL 2116121, *3 (N.D. Ill. 2012),

citing Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973) (no “constitutional or federally

recognized right to an adequate police investigation, or any investigation at all”); David v.

Village of Oak Lawn, 954 F. Supp. 1241, 1245-46 (N.D. Ill. 1996) (plaintiff had no constitutional

right to have his complaints investigated); Slagel v. Shell Oil Refinery, 811 F. Supp. 378, 382

(C.D. Ill. 1993), aff’d 23 F.3d 410 (1994) (police officer had no federal or constitutional mandate

to conduct an investigation into a plaintiff’s assault charge).

       Evans – Unlike the vague assertions against Defendant Evans in plaintiff’s summary

judgment pleadings, the City Defendants’ joint motion is specific as to Evans’ role in the initial

1984 Smith/Hickman homicide investigation, and the absence of evidence of wrongdoing on his



                                                 10
    Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 15 of 30 PageID #:8427



part. (City Joint Memo, at 1, 12-16, 35-36). Plaintiff concedes he has no evidence Evans

suppressed any Brady material. (Pl. M/Partial S.J., at 16). The only evidence establishes Evans

submitted his notes and reports on the Smith/Hickman investigation for inclusion in the file.

(DSOF, ¶152).9 Whether described as a due process violation or malicious prosecution, there is

simply no evidence supporting the claim Evans “played a role” in depriving plaintiff of Brady

materials.

        Plaintiff’s Response fails to address another fatal flaw in plaintiff’s Brady claim against

Evans, Hood, Bogdalek, Minogue, Casto, and Richardson. Not only is there a lack of evidence

any of the individual City Defendants suppressed documents, it would be pure speculation to

conclude any suppressed documents, if they existed, would be exculpatory to plaintiff. (City

Joint Memo, at 14). Mere speculation cannot support a Brady claim. United States v. Roberts,

534 F.3d 560, 572 (7th Cir. 2008). Plaintiffs’ failure to address these points with opposing

argument or authority should be deemed a waiver of those arguments. See Bonte v. U.S. Bank,

624 F.3d 461, 466 (7th Cir. 2010); see also 330 W. Hubbard Restaurant Corp. v. United States,

203 F.3d 990, 997 (7th Cir. 2000) (It is not the court’s obligation “to research and construct the

legal arguments open to the parties, especially when they are represented by counsel.”)

        Finally, there is no evidence of misconduct on Evans’ part supporting any other claim in

the TAC. Plaintiff has acknowledged Evans had no involvement in the Vaughn/White homicide

investigation. (Plaintiff’s Response to DSOF, ¶76). Plaintiff’s Response (at 17) suggests Evans’


9
  Without any apparent good faith basis, plaintiff disputes the assertion Evans did not withhold or destroy
any notes pertaining to the Smith/Hickman investigation. (Pl. Rule 56.1(b)(3) Response, Dkt. #466,
¶152). Contrary to plaintiff’s incomplete reading of the record, Evans affirmatively testified any notes he
took regarding the Smith/Hickman homicide were turned in, and he did not withhold anything. (See
Evans Deposition, Defendants’ Exhibit 5, at pp. 96, 104). Plaintiff disputes Evans’ testimony, but points
to no evidence to contradict it and provides no reference to the record to support his disagreement. As
such, plaintiff’s response fails to comply with Local Rule 56.1(b)(3)(B). See Bordelon v. Chicago School
Reform Board of Trustees, 233 F.3d 524, 528 (7th Cir. 2000).

                                                    11
     Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 16 of 30 PageID #:8428



role in depriving Fields of Brady material was sufficient to support a malicious prosecution claim

against Evans. But as noted above, plaintiff has failed to present evidence that Evans violated

plaintiff’s rights under Brady, so this argument fails.

         Hood and Minogue – Plaintiff’s summary judgment pleadings are likewise vague and

conclusory as to Defendants Hood and Minogue, failing to specifically address the absence of

evidence against them. Plaintiff concedes he can point to no evidence that Hood or Minogue

suppressed Brady material. (Pl. M/Partial S.J., at 16). The only evidence in the record is that

neither Hood nor Minogue withheld or destroyed any notes concerning the Smith/Hickman

investigation.10 (DSOF, ¶152). Whether couched as a due process or malicious prosecution

action, there is no evidence supporting plaintiff’s generalized claim that Hood and/or Minogue

“played a role” in depriving Fields of Brady materials. And plaintiff has presented no evidence

of misconduct by Hood or Minogue supporting any other claim. Plaintiff admits Hood and

Minogue had no involvement in the Vaughn/White investigation. (Pl. Response to DSOF, ¶76).

As to the malicious prosecution claim, plaintiff’s Response (at 17) vaguely invokes Hood’s and

Minogue’s unspecified roles in depriving Fields of Brady materials. But as established above,

plaintiff’s failure to present any evidence Hood or Minogue suppressed Brady material

fundamentally defeats this argument. Plaintiff presents no other evidence Hood or Minogue did

anything to cause or commence the criminal prosecution of Fields that would support a malicious

prosecution action.




10
   Without any reference to record evidence to support his position, plaintiff disputes the assertion
Minogue did not withhold or destroy notes pertaining to the Smith/Hickman investigation. (Pl. Rule
56.1(b)(3) Response, ¶152). Plaintiff’s failure to identify any evidence in the record to support his
disagreement contravenes local rules. (Bordelon, supra). Even more remarkably, plaintiff’s unsupported
denial is made notwithstanding the prior acknowledgement by plaintiff’s counsel that she was not
accusing Minogue of withholding anything. (Plaintiff’s Exhibit 14, Minogue Deposition, at 175-76).

                                                 12
     Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 17 of 30 PageID #:8429



         Bogdalek – As with the other detectives involved in the initial 1984 Smith/Hickman

investigation, plaintiff concedes he can point to no evidence Bogdalek suppressed Brady

material. (Pl. M/Partial S.J, at 16). Accordingly, the only evidence of record is that Bogdalek

did not withhold or destroy any notes pertaining to Smith/Hickman.11 (DSOF, ¶152). Plaintiff’s

conclusory assertion that Bogdalek “played a role” in depriving Fields Brady materials lacks the

necessary evidentiary support to avoid summary judgment.

         Plaintiff’s Response (at 17) purports to incorporate arguments from his motion for partial

summary judgment in an unsuccessful effort to prop up his malicious prosecution claim. The

mere fact Bogdalek testified at the 1986 trial is not enough to establish malicious prosecution.

(See City Joint Memo, at 36). As to the suggestion Bogdalek “realized” Fields had not received

“everything,” plaintiff necessarily ignores Bogdalek’s actual testimony in which he stated he did

not know what Fields and his attorneys received relative to the 1986 trial. (See City Resp. to

M/Partial S.J., at 15; DAF ¶11). Once plaintiff’s efforts to manipulate Bogdalek’s testimony into

something it is not are disregarded, there is no evidence Bogdalek did anything that violated

plaintiff’s constitutional rights under Brady.

         Plaintiff’s similarly has failed to present any evidence of misconduct on Bogdalek’s part

supporting any other cause of action. Plaintiff concedes Bogdalek had no involvement in the

Vaughn/White investigation. (Pl. Response to DSOF, ¶76). Plaintiff Response (at 17) suggests

Bogdalek’s role in depriving Fields of Brady material supports the malicious prosecution claim.

However, plaintiff’s failure to present evidence Bogdalek violated plaintiff’s rights under Brady




11
  Plaintiff also disputes the assertion Bogdalek did not withhold or destroy any notes pertaining to the
Smith/Hickman investigation. (Pl. Rule 56.1(b)(3) Response, ¶152). Again, this disagreement is
unsupported by any reference to the evidentiary record and therefore does not comply with Local Rule
56.1(b)(3)(B). Bordelon, supra.

                                                  13
 Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 18 of 30 PageID #:8430



thwarts this argument. Plaintiff presents no other evidence Bogdalek did anything to cause or

commence the criminal prosecution of Fields for purposes of the malicious prosecution claim.

       Casto and Richardson – Plaintiff’s summary judgment pleadings make no effort to

specify the evidence supporting their claims against Defendants Casto and Richardson. Plaintiff

does not dispute (nor can he) that Casto and Richardson were Gang Crimes specialists and not

homicide detectives. Plaintiff concedes he has no evidence establishing Casto or Richardson

suppressed the Subject File. (Pl. M/Partial S.J, at 16). Indeed, the Response barely mentions

Casto or Richardson by name, and presents no discussion of evidence that links these particular

defendants to a specific act of misconduct. (Plaintiff’s Motion for Partial Summary Judgment

fares no better, simply lumping them together with the other defendants). Plaintiff identifies no

evidence either Casto or Richardson knew of or was personally involved in the suppression of

documentation from Fields, exculpatory or otherwise. In sum, there is no evidence supporting

plaintiff’s generic claim that Casto and/or Richardson “played a role” in depriving Fields of

Brady materials.

       Plaintiff similarly has presented no evidence of misconduct by Casto or Richardson

supporting any other claim. There is no evidence Richardson or Casto coerced witnesses to

identify Fields in interviews, photo arrays, or lineups. (City Joint Memo, at 27-28). Plaintiff’s

failure to even address this issue in his response results in waiver. (Bonte, supra). Plaintiff

presents no other argument or evidence that Casto or Richardson did anything to cause or

commence the criminal prosecution of Fields that would support a malicious prosecution action.

       Brannigan – Plaintiff’s Response (at 19) initially suggests Brannigan played an

“extensive role” in the criminal investigation of Fields. However, plaintiff does not detail that

“extensive role,” suggesting only that Brannigan’s name appeared in three documents:



                                               14
 Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 19 of 30 PageID #:8431



plaintiff’s arrest warrant in the Vaughn/White case; a supplementary report describing Fields’

arrest and lineup identification; and, a supplementary report from the Vaughn/White

investigation concerning information obtained from a confidential informant. Plaintiff’s cursory

reference to these documents falls short of supplying evidence of Brannigan’s involvement in

homicide investigations concerning Fields.      Moreover, plaintiff’s proposed inference of an

“extensive role” is contradicted by the record. For example, two of the documents identified by

plaintiff relate to Vaughn/White, and plaintiff already has conceded Brannigan had no

involvement in that investigation. (Pl. Resp. to DSOF, ¶76). As to the supplementary report

describing Fields’ arrest and identification, plaintiff does not explain Brannigan’s actual role in

those events, if any, or how Brannigan in particular violated his constitutional rights. The

appearance of Brannigan’s name on documents relating to plaintiff fails to provide evidence

Brannigan personally caused or participated in a deprivation of plaintiff’s due process rights.

       Plaintiff’s Response fails to identify any other competent evidence that Brannigan

deprived plaintiff of a constitutional right. The Response (at 20) broadly references purported

statements by Anthony Sumner to El Rukn lawyers that Brannigan beat and threatened him, “and

as a result,” Sumner provided false statements to the CPD. Plaintiff’s attempt to rely on this

“evidence” should be rejected. First and foremost, Sumner’s statements to the El Rukn attorneys

are inadmissible hearsay (see City Joint Memo, at 17), and plaintiff has not challenged its

inadmissibility in his Response. Moreover, Sumner testified in court that his statements about

Brannigan were untrue. (Id.) There is no competent evidence Sumner falsely implicated Fields

“as a result” of Brannigan beating or threatening him. Nor is their evidentiary support for an

inference that AUSA Hogan corroborated Sumner’s “admissions” concerning Brannigan. Mr.

Hogan never corroborated Sumner’s statements provided to the El Rukn attorneys. Mr. Hogan



                                                15
 Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 20 of 30 PageID #:8432



was very clear that Sumner’s recantations were specifically limited to two things: Sumner’s role

in the Barnett Hall shooting, and Fields’ involvement in the Vaughn/White homicides.

(Plaintiff’s Exhibit 66).   Indeed, AUSA Hogan specifically clarified Sumner’s testimony

regarding Fields’ involvement in the Smith/Hickman murders was “completely truthful.” (Id.;

see also Defendants’ Exhibit 61, Hogan Certificate of Innocence Testimony, at pp. 103-04).

Plaintiff is unable to present admissible evidence Brannigan improperly coerced Sumner to

falsely implicate Fields in the Smith/Hickman murders or any other crime.

       Plaintiff similarly fails to identify a deprivation of his constitutional rights through

Brannigan’s involvement with Earl Hawkins. Assuming, arguendo, Brannigan helped convince

Hawkins to cooperate by falsely telling him he would serve only 20 years, such conduct would

not violate Fields’ constitutional rights. Constitutional rights are personal in nature and cannot

be vicariously asserted. Daniels v. Southfort, 6 F.3d 482, 484 (7th Cir. 1993). Moreover, even if

such a representation was made to Hawkins, it had nothing to do with Hawkins’ ultimate

decision to cooperate with prosecutors. Hawkins entered into plea agreements with the federal

and state prosecutors, not Brannigan. If Hawkins believed Brannigan initially misled him, he

could have refused or rescinded any agreement to cooperate. Most significantly, plaintiff has

presents no evidence to support the allegation Brannigan was involved in the subornation of

perjury from Hawkins, Hawkins has never recanted, and Hawkins to this day maintains Fields

was involved in the Smith/Hickman murders. (City Joint Memo, at 18-19).

       O’Callaghan – Plaintiff’s Response similarly falls short of pointing to specific, non-

speculative evidence that O’Callaghan suppressed exculpatory evidence from Fields. Plaintiff is

unable to link O’Callaghan to the Subject File. Plaintiff’s Response points to no evidence that

refutes O’Callaghan’s testimony stating he did not withhold exculpatory information. Plaintiff



                                               16
 Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 21 of 30 PageID #:8433



speculates O’Callaghan must have generated notes and that no notes were produced. But as the

motion for summary judgment establishes, there is no evidence (1) O’Callaghan generated notes,

(2) the notes contained exculpatory information, and/or (3) they were not produced to plaintiff

because O’Callaghan suppressed or destroyed them. Speculation is insufficient to support a

Brady claim (U.S. v. Roberts, supra), just as speculation is insufficient to oppose summary

judgment. McCoy v. Harrison, 341 F.3d 600, 604 (7th Cir. 2003).

       Plaintiff unsuccessfully raises other examples of O’Callaghan’s perceived “misconduct”

in the hope this Court will find something that sustains a claim. Plaintiff contends O’Callaghan

falsely told the State’s Attorney’s Office (“SAO”) there were no eyewitnesses to the

Vaughn/White homicides. There is no testimony to support this assertion, so plaintiff relies on a

gross distortion of the record, in particular, Exhibit 118, a “Felony Screening Memo” from the

SAO. (See Plaintiff’s Response, at 27; PAF ¶245). The SAO memo, in a section entitled

“Statement,” indicates ASA Hynes, O’Callaghan, and Detective Robertson were witnesses to an

oral statement provided by plaintiff on June 14, 1985. (Plaintiff’s Exhibit 118). In a separate

section entitled “Incident,” the memo summarizes information about the murders, and includes

the line, “No eyewitnesses to incident.” Pointedly, the memo does not attribute that line or the

information in that section to O’Callaghan or anyone else. There is no evidence that information

came from O’Callaghan, as there is no basis to do so. In fact, plaintiff’s Statement of Additional

Facts (¶245) does not even attribute the information to O’Callaghan, as there is no basis for

doing so. Yet, plaintiff’s Response accuses O’Callaghan (and Murphy) of fabricating evidence

by falsely telling the SAO there were no eyewitness to the Vaughn/White murders.             This

assertion is blatantly false, completely unsupported by evidence, and unsupported by plaintiff’s




                                               17
     Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 22 of 30 PageID #:8434



own statement of additional facts, and presents yet another example of plaintiff’s desperate

attempt to manufacture a question of fact by taking extreme liberties with the evidentiary record.

         Plaintiff has no real response to the absence of evidence establishing an improperly

suggestive line-up caused by O’Callaghan revealing Fields’ El Rukn tattoo to witnesses.12 (City

Joint Memo, at 24). Rather than point to any evidence, plaintiff simply argues a jury need not

believe O’Callaghan on this issue “given the accumulation of misconduct.” (Pl. Response, at

28). Such a response is patently insufficient to resist summary judgment. Samuels v. Wilder,

871 F.2d 1346, 1349 (7th Cir. 1989) (“merely alleging a factual dispute cannot defeat the

summary judgment motion”). Tellingly, plaintiff identifies no evidence, from himself, a police

officer, or other witness, that any of the lineup witnesses observed Fields’ El Rukn tattoo when

O’Callaghan lifted the sleeve for the evidence technician to take a photograph.

         Plaintiff’s Response also fails to raise a genuine issue of material fact regarding the claim

that O’Callaghan coerced witnesses to implicate Fields. With respect to Randy Langston, the

Response discusses Randy’s testimony at the 1986 death penalty hearing, but it fails to address

the substantive point that the testimony is inadmissible as against O’Callaghan.13 (See City Joint

Memo, at 24-25). Plaintiff’s Response discusses Gerald Morris’ affidavit, but it similarly fails to


12
   Without explanation of its legal significance, the Response (at 28) complains Fields was the only
individual in the line-up wearing a short sleeve shirt. Plaintiff seemingly abandoned any argument this
difference rendered the lineup unconstitutional or unduly suggestive. (City Joint Memo, at 23-24). “The
Constitution does not require that police lineups, photo arrays, and witness interviews meet a particular
standard of quality.” Alexander v. City of South Bend, 433 F.3d 550, 555 (7th Cir. 2006), citing Hensley
v. Carey, 818 F.2d 646, 648, 650 (7th Cir. 1987). More specifically, differences in clothing, even
differences more conspicuous than sleeve length, have been repeatedly rejected by courts as evidence that
a lineup was unduly suggestive. See, e.g., Alexander v. City of South Bend, 320 F. Supp. 2d 761, 782
(N.D. Ind. 2004) aff'd, 433 F.3d 550 (7th Cir. 2006) (finding lineup procedure was not constitutionally
impermissible where plaintiff complained, among other allegedly suggestive procedures, that he was the
only individual in the lineup with cut-off sleeves).
13
   For the same reason, the trial testimony of Carlos Willis and Evelyn Custer would be inadmissible as
against O’Callaghan. Moreover, neither witness implicated Fields. Both Willis and Carter testified for
the defense about a lineup involving Earl Hawkins, not Fields.

                                                   18
     Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 23 of 30 PageID #:8435



address the substantive point that the affidavit does not say O’Callaghan told Morris which

photograph to identify. (Id. at 26). Whether styled as a due process claim or one for malicious

prosecution, there is no evidence O’Callaghan suppressed or destroyed evidence that was

exculpatory to Fields, and no admissible, non-speculative evidence that he coerced witnesses or

fabricated evidence to falsely implicate Fields in the Smith/Hickman murders.

         Murphy – Plaintiff’s Response initially challenges Defendant Murphy’s motion on an

issue relating to the Vaughn/White murders.             According to plaintiff, the City Defendants,

including Murphy, had “overwhelming evidence that Sumner was lying about Fields

involvement in Vaughn/White.” (Plaintiff’s Response, at 27). However, the “overwhelming”

evidence boils down to two alleged inconsistencies: the two child eyewitnesses said they saw

two offenders; and, a confidential informant implicated Hawkins and Sumner, but not Fields. An

objective examination of the circumstances reveals the supposed “conflicts” urged by plaintiff do

not really exist. The two child eyewitnesses did say they briefly saw two offenders, but they did

not say only two offenders were present. As Defendant O’Callaghan explained at his deposition,

a third offender could have been present but out of view of the witnesses.                (O’Callaghan

Deposition, at 81) (attached as Exhibit 81). Thus, the information from the eyewitnesses14 did

not “directly conflict” with the version of events Sumner told police.

         As for the confidential informant (Response, at 26-27), he told police Hawkins and

Sumner fled to Milwaukee because they had been involved in an unauthorized murder of a

husband and wife. Importantly, the informant did not tell police Fields did not participate in

those murders, or that Hawkins and Sumner said they were the only two perpetrators. The

14
  In disparaging the defendant officers for believing Sumner, plaintiff’s speculative argument disregards
that two innocent individuals, Jackson and Glenn, were implicated by the two child eyewitnesses, and it
was information provided by Sumner that caused the State to exonerate them for the Vaughn/White
murders. (DSOF, ¶¶72-74).

                                                   19
     Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 24 of 30 PageID #:8436



information from the informant reflected in the police report thus does not “directly conflict”

with Sumner’s version of events. In any event, the supplementary report in question (plaintiff’s

Exhibit 112) reflects prosecutors were aware of the same information as police and

independently relied on Sumner’s information in deciding to charge Fields and Hawkins in the

Vaughn/White murders. There was no plausible reason, let alone overwhelming evidence, for

Murphy or anyone else to conclude Sumner was lying about the Vaughn/White murders when

Fields was charged by the State.

         In an effort to support his malicious prosecution against Murphy, plaintiff points to

mistakes in police reports and characterizes them as examples of fabricated evidence. For

example, plaintiff suggests a jury could reject Murphy’s explanation that he mistakenly wrote

“1986” on a May 14, 1985 General Progress Report (“GPR”). Plaintiff provides no evidence to

support his speculative claim Murphy “back-dated” the GPR. All of the evidence supports that

the GPR was generated in 1985, as Murphy testified. Sumner began cooperating with authorities

in mid-May 1985. The testimony is consistent that the highly inculpatory information reflected

in the GPR was provided by Sumner and known to authorities in May 1985. (See DSOF, ¶¶ 34,

36, 41-46). A supplementary report dated May 20, 1985, signed by Murphy as approving

supervisor, reflects Sumner provided the information implicating Fields in the Smith/Hickman

murders in 1985. (Defendants’ Exhibit 68, City-NF-000948-950). Perhaps most significantly,

plaintiff’s Response does not explain how the misdating of a GPR constitutes fabrication of

evidence. Even if the date is wrong, the evidence itself (Sumner’s implication of Fields in the

Smith/Hickman murder) is not fabricated.15

15
   This same analysis applies to plaintiff’s contention (Response, at 30) that it is “incredible” Murphy’s
reference to “Special Notes” actually refers to the 1985 GPR. Moreover, plaintiff does not explain how
the alleged suppression of a highly inculpatory GPR somehow constitutes evidence of malicious
prosecution.

                                                   20
     Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 25 of 30 PageID #:8437



         The other “mistakes” raised in plaintiff’s Response do not even pertain to Fields.

Plaintiff suggests a Crime Lab Report signed by Murphy indicates the witness identified Ray

Fergerson in a lineup. There is no evidence establishing Murphy fabricated any evidence to

falsely implicate plaintiff in that lineup. Indeed, plaintiff was not even in that lineup. As

Murphy explained at his deposition, he simply corrected a mistake made by a person who was

not at the line-up to reflect that the witness actually identified Earl Hawkins, and not Ray

Fergerson. (DSOF, ¶¶ 51-53). The supplementary report prepared regarding the lineup properly

reflected Hawkins was identified. (Id. at ¶54). Plaintiff does not explain how the purported

falsification of a lineup report to identify Hawkins, who has admitted his role in the

Smith/Hickman murders, somehow violates Fields’ constitutional rights or caused him to be

maliciously prosecuted. The same rationale applies to the erroneous date on the supplementary

report reflecting the line-up identification of El Rukn George Carter. It is undisputed Carter was

arrested on May 21, 1985, and therefore the date of May 18, 1985 on the report is an error. The

misdating of a report pertaining to another suspect did not violate Fields’ constitutional rights or

result in his malicious prosecution.16

         C.     Probable Cause




16
   Characteristic of many “arguments” in the Response, plaintiff also references a lawsuit in the Houston
v. Partee matter, vaguely mentions a singular aspect of the case, and then imputes some impropriety
without any discussion of the context or circumstances. Plaintiff suggests there was an unreasonable
delay in exonerating two wrongfully convicted individuals, and with no discussion, attributes the delay to
Murphy. As a preliminary matter, nothing set forth in plaintiff’s description of the Ronnie Bell murder
has any relevance to Fields’ case or the issues raised on summary judgment. Second, plaintiff does not
discuss the circumstances underlying the eventual exoneration of the two innocent individuals, or the
significant role played by Murphy (and other defendants) in securing their eventual release. Third,
plaintiff fails to discuss those exonerations became possible only after cooperating witnesses Sumner and
Hawkins provided information to the authorities implicating the real killers (themselves and other El
Rukns) in the Bell murder, i.e., the very same type of information provided in the very same manner from
the very same cooperating witnesses that plaintiff has denigrated throughout his summary judgment
pleadings.

                                                   21
 Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 26 of 30 PageID #:8438



       The City Defendants presented the evidence establishing probable cause for Fields’

prosecution, which constitutes an absolute bar to his claim for malicious prosecution. (See City

Joint Memo, at 36-38).         Plaintiff’s Response suggests subsequent developments have

demonstrated those witnesses were not credible. As set forth in the motion, probable cause for

purposes of an Illinois malicious prosecution claim is a “state of facts that would lead a person of

ordinary caution and prudence to believe, or to entertain an honest and strong suspicion, that the

person arrested committed the offenses charged.” Johnson v. Target Stores, Inc., 341 Ill. App.

3d 56, 72, 791 N.E.2d 1206 (1st Dist. 2003). All of the information provided to investigators by

Anthony Sumner, Randy Langston, Eric Langston, and Gerald Morris, and later, the El Rukn

cooperating witnesses, supported a reasonable belief Fields was involved in the Smith/Hickman

homicides. That plaintiff ultimately was acquitted does not negate the existence of probable

cause. Swearnigen-El v. Cook County Sheriff’s Dept., 602 F.3d 852, 863 (7th Cir. 2010).

       D.      Conspiracy

       A civil conspiracy claim requires plaintiff to show an agreement between the parties to

deprive him of his constitutional rights. Reynolds v. Jamison, 488 F.3d 756, 764 (7th Cir. 2007).

In response, plaintiff provides nothing more than an allegation that a conspiratorial agreement

existed (Response, at 34) (“Clearly the facts alleged herein and in Fields’ motion for summary

judgment …”), which is insufficient to oppose summary judgment. Plaintiff has provided no

evidence of an agreement between the City Defendants, or between them and anyone else, to

deprive him of exculpatory materials or frame him for the Smith/Hickman murders. Plaintiff

claims “the record is full of evidence” suggesting a conspiracy (Response, at 32), but he does not

identify any of the evidence that purportedly fills the record. Plaintiff also suggests he has

satisfied his burden of showing that a genuine issue of fact remains on his conspiracy claims, but

he does not explain how he has done so. Plaintiff does not provide any discussion of the

                                                22
 Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 27 of 30 PageID #:8439



circumstances from which a conspiratorial agreement could be inferred. Plaintiff’s Response

fails to meaningfully address the absence of evidence identified in City Defendants’ motion,

rendering appropriate summary judgment on plaintiff’s conspiracy claims.

IV.    THERE IS NO BASIS FOR EXCLUDING THE TESTIMONY OF EARL
       HAWKINS, DERRICK KEES, OR TRAMELL DAVIS

       This Court should reject plaintiff’s baseless request to exclude the testimony of Earl

Hawkins, Derrick Kees, and Tramell Davis because they were “compensated by the defendants

in connection with these non-criminal proceedings.” (Pl. Response, at 36). Plaintiff’s argument

intentionally (and improperly) conflates the City Defendants with the County Defendants, as

well as this lawsuit with plaintiff’s certificate of innocence proceedings. There is no evidence

the City Defendants offered anything to these witnesses or that one of these witness received any

benefit from them in exchange for providing testimony in this proceeding. Knowing this,

plaintiff broadly refers to actions purportedly taken by “the defendants.” Plea deals offered by

the State in exchange for truthful testimony in the certificate of innocence proceedings, or rent

payments made by the State to a relocated witness, cannot fairly be attributed to the City

Defendants in this proceeding. There is no reasonable basis to exclude the witnesses’ testimony

in this proceeding.

       The very exhibits plaintiff cites in support of his argument show Hawkins and Kees made

plea agreements with the State, not the City defendants, who, of course, cannot even make such

agreements. (PAF, Ex. 141, 142, 143). Hawkins’ plea agreement states he “agree[d] to fully and

truthfully cooperate with the People of the State of Illinois …”, and nowhere references any City

Defendant or this case.    (PAF, Ex. 141).    Kees’ agreement also did not involve the City

defendants or this case. As explained by the State in the October 9, 2013 hearing on Kees’ plea




                                               23
     Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 28 of 30 PageID #:8440



agreement, it “was in exchange for his truthful testimony in this innocence hearing ….” (PAF,

Ex. 143, p. 8-9).

         There similarly is no evidence the City Defendants played any role in the State paying

Tramell Davis’s rent. Davis was asked whether the State paid his rent, to which Davis said yes.

(Plaintiff’s Ex. 144, at 137-138). Nowhere in the deposition, or anywhere else, does it suggest

any City Defendant paid Davis’ rent.          Furthermore, the rent payments were not made in

exchange for Davis’ testimony, but were made to keep him from being evicted. (Id. at 137-138).

There is no evidence the rent payments were made by the State in exchange for Davis providing

testimony for the City Defendants in this case.

         Moreover, there is no evidence suggesting the substance of the testimony of Hawkins,

Kees, or Davis was influenced by the plea deals or by the State making rent payments. Hawkins

and Kees have testified numerous times regarding the murders, and Davis provided a statement

to police in 1987 implicating Fields in the murders. DSOF, ¶109, 128. Each time they provided

testimony or statements regarding the Smith/Hickman murders, they implicated Fields. DSOF,

¶128. Their testimony in the certificate of innocence proceedings and in this case has been

consistent with their earlier testimony and statements.            Plaintiff’s request to exclude the

testimony of Hawkins, Kees, and/or Davis should be denied.17


17
   Because the City Defendants were not involved in any of the allegedly improper conduct, the Court
need not consider the legal sufficiency of plaintiff’s arguments, but it is worth noting they are without
merit and the State did nothing improper. Plaintiff, without any supporting legal authority, asserts “the
defendants” violated federal bribery laws, i.e., 18 U.S.C. §201(c)(2). The case law directly contradicts
this accusation. “Foregoing criminal prosecution (or securing a lower sentence) is not a ‘thing of value’
within the meaning of §201(c)(2).” U.S. v. Condon, 170 F.3d 687, 689 (7th Cir. 1999); see also U.S. v.
Febus, 218 F.3d 784, 797 n.11 (7th Cir. 2000) (finding argument defense counsel was ineffective for
failing to investigate whether government violated §201(c)(2) by entering plea agreements with witnesses
“patently frivolous” because “plea agreements are not a thing of value”). The rent payments for Davis
also are not improper under §201(c)(2). The purpose was avoid Davis’ eviction, not to purchase his
testimony. See Febus, 218 F.3d at 796. Even if this were not the case, “we have held that such
arrangements are not per se outrageous; rather the jury may consider them as evidence relating to the
informant’s credibility.” Id; see also U.S. v. Ihnatenko, 482 F.3d 1097, 1100 (9th Cir. 2007) (“…18 U.S.C.

                                                   24
  Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 29 of 30 PageID #:8441



V.      CONCLUSION

        For the reasons set forth in this Reply, the City Defendants’ Joint Motion for Summary

Judgment, and their Joint Memorandum of Law in Support, this Court should enter summary

judgment in favor of the City Defendants (City of Chicago, Robert Evans, Stephen Hood, James

Minogue, Joseph Bogdalek, Thomas Richardson, Stephen Casto, Daniel Brannigan, David

O’Callaghan, and Joseph Murphy), and against plaintiff on all counts of the TAC, or for any

portions of the TAC for which there are no genuine issues of material fact.

Dated: January 24, 2014                                  Respectfully submitted,


                                                   By: s/ Paul A. Michalik
                                                      One of the Attorneys for City Defendants
Terrence M. Burns
Paul A. Michalik
Daniel M. Noland
Dykema Gossett PLLC
10 South Wacker Drive, Suite 2300
Chicago, IL 60606
(312) 876-1700 (telephone)
(312) 876-1155 (facsimile)




§201(c)(2) does not prohibit the government from paying fees, housing, expenses, and cash rewards to
any cooperating witness, so long as the payment does not recompense any corruption of the truth of the
testimony”).
         Plaintiff also incorrectly argues exclusion of the witness’ testimony is the proper remedy for a
violation of the federal bribery statute. “Section 201(c)(2) is a criminal statute, not a private right of
action or a rule of evidence. It provides specific consequences: fines and imprisonment. Exclusion of
evidence would not be an appropriate additional consequence.” Condon, 170 F.3d at 689. Notably,
plaintiff moved to exclude the testimony of these witnesses in the certificate of innocence proceedings
before Judge Biebel. Consistent with Seventh Circuit case law, Judge Biebel denied the motion to
exclude, stating: “I am not going to disqualify witnesses, but I certainly will take into consideration that
either deals were made or some money was paid.” (Transcript of August 22, 2013, Certificate of
Innocence Proceeding, p. 4) (attached as Defendants’ Exhibit 82).

                                                    25
 Case: 1:10-cv-01168 Document #: 480 Filed: 01/27/14 Page 30 of 30 PageID #:8442



                                 CERTIFICATE OF SERVICE

          I hereby certify that on January 27, 2014, I electronically filed the foregoing City

Defendants’ Joint Reply in Support of Their Motion for Summary Judgment with the Clerk

of the Court using the ECF system, which sent electronic notification of the filing on the same

day to:

H. Candace Gorman                                Stephen L. Garcia
Law Office of H. Candace Gorman                  Office of the Cook County State’s Attorney
220 S. Halsted                                   500 Richard J. Daley Center
Suite 200                                        Chicago, IL 60602
Chicago, IL 60661                                312.603.5475
312.427.2313                                     stephen.garcia@cookcountyil.gov
hcgorman1@gmail.com

and

Leonard C. Goodman
Melissa A. Matuzak
Law Offices of Leonard C. Goodman
53 W. Jackson
Suite 1220
Chicago, IL 60604
312.986.1984
lcgoodman@rcn.com
melissamatuzak@gmail.com




                                                s/ Paul A. Michalik
